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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF KENTUCKY
                              CENTRAL DIVISION
                                AT LEXINGTON

UNITED STATES OF AMERICA,                       CRIMINAL ACTION NO. 5:13-97-KKC
     Plaintiff,

                                                         MEMORANDUM
V.
                                                       OPINION AND ORDER

MARIO APARICIO-RAMIREZ,
     Defendant.



                                        *** *** ***

      This matter is before the Court on Defendant Mario Aparicio-Ramirez’s second and

third motions for reconsideration of his sentence. (DE 659; DE 660). Defendant presents the

same grounds for a modification or reduction that this Court previously found meritless in

its June 23, 2016, Memorandum Opinion and Order. (DE 652.) Therefore, the Court will

deny Defendant’s motions.

      Despite Defendant’s contention that this Court misconstrued his prior motion as one

for a sentence reduction pursuant to Amendment 782, this Court clearly stated that:

             Defendant asserts that because he is an alien he is (1) denied
             the opportunity for a sentence reduction pursuant to a fast-
             track program, (2) categorically deprived of the opportunity to
             serve a portion of his sentence in a halfway house, (3) and
             denied a possible one year sentence reduction resulting from
             participation in a drug rehabilitation program. (DE 650 at 3–4.)
             Defendant suggests that these facts create a disparity between
             his sentence and that of similarly situated individuals that is
             inconsistent with 18 U.S.C. § 3553(a)(6). 18 U.S.C. § 3553(a)(6)
             (directing courts to consider “the need to avoid unwarranted
             sentence disparities among defendants with similar records
             who have been found guilty of similar conduct”).


(DE 652.)
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       The Court will reiterate that the grounds for modifying an imposed sentence are

limited by 18 U.S.C. § 3582, which provides that:

              The court may not modify a term of imprisonment once it has
              been imposed except that, (1) in any case, (A) the court, upon
              motion of the Director of the Bureau of Prisons, may reduce the
              term of imprisonment . . . (B) the court may modify an imposed
              term of imprisonment to the extent otherwise expressly
              permitted by statute or by Rule 35 of the Federal Rules of
              Criminal Procedure, and (2) in the case of a defendant who has
              been sentenced to a term of imprisonment based on a
              sentencing range that has subsequently been lowered by the
              Sentencing Commission[.]

18 U.S.C. § 3582(c). Here, as before, the Bureau of Prisons (“BOP”) has not moved for a

reduction; Defendant has not moved under a statute that expressly permits modification or

Rule 35 of the Federal Rules of Criminal Procedure; and the Sentencing Commission has

not subsequently lowered the sentencing range for the crimes that Defendant was convicted

of.

       Given Defendant’s repetitious filings the Court will direct the Clerk of Court not to

docket any additional motions for reconsideration without leave from the Court. As the

Supreme Court has stated, “[e]very paper filed with the Clerk of this Court, no matter how

repetitious or frivolous, requires some portion of the institution's limited resources. A part

of the Court's responsibility is to see that these resources are allocated in a way that

promotes the interests of justice. The continual processing of petitioner's frivolous requests .

. . does not promote that end.” In re McDonald, 489 U.S. 180, 184 (1989). Defendant is

further advised that if he seeks additional consideration of his arguments, now found

meritless in three separate motions, he may appeal to the Sixth Circuit Court of Appeals.

       Accordingly, IT IS ORDERED that:




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    1. Defendant’s second and third motions for sentence reconsideration (DE 659; DE

       660) are DENIED;

    2. Defendant SHALL NOT file any additional motions for reconsideration in this

       matter without prior express leave from the Court. If Defendant desires leave to

       file a motion, he shall submit a motion titled “Motion for Leave to File” and

       describe the nature of his proposed motion or pleading.

    Dated August 11, 2016.




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